                                                                               Motion GRANTED.
                                                                               Hearing reset for
                              UNITED STATES DISTRICT COURT                     10/18/13 at 3:30 p.m.
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE SECTION



UNITED STATES OF AMERICA                         ]
                                                 ]
VS.                                              ]        CRIM. CASE NO. 1:12-CR-00001
                                                 ]        JUDGE TRAUGER
WAYNE HAMPTON                                    ]




                   MOTION TO RESCHEDULE SENTENCING HEARING



        Comes now the Defendant, through undersigned counsel, and moves the Court to

reschedule the sentencing hearing in this cause. As grounds therefore, the Defendant would show

as follows:

        The sentencing hearing is currently set for October 10, 2013, by Order of this Court.

[Doc. No. 185] It was rescheduled because of defense counsel’s inexcusable absence on August

29, 2013.

        Counsel has a conflict with the current scheduling, to wit: counsel has a first degree

murder trial scheduled to commence on October 7, 2013, in State of Tennessee v. Christopher

Alexander, Case No. 2009-C-2681, in the Criminal Court for Davidson County, Division IV. It is

anticipated the trial will last three to four days.

        Counsel is available anytime October 1, afternoon on October 2, morning till noon on

October 3, afternoon October 4 or anytime the week of October 14 through October 18, 2013.

        WHEREFORE, the Defendant moves the Court to reschedule the sentencing hearing in




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